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                                                                             United States District Court
                                                                               Southern District of Texas
                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                             ENTERED
                            HOUSTON DIVISION                                      July 01, 2022
                                                                               Nathan Ochsner, Clerk

James Z Lux,                               §
                                           §
      Plaintiff,                           §
                                           §
v.                                         §      CIVIL ACTION 4:22−cv−01020
                                           §
UNUM Life Insurance Company of             §
America,
                                           §
      Defendant.                           §

                       CONDITIONAL DISMISSAL ORDER

      The Court has been advised that a settlement has been reached between the
parties. Accordingly, it is hereby
      ORDERED that this case is DISMISSED WITHOUT PREJUDICE to
reinstatement of Plaintiff's claims, unless any party represents in writing filed with the
Court on or before August 1, 2022 that the settlement could not be completely
documented.
     All pending motions are hereby DENIED, as moot.

     Signed the 1st of July 2022.
